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From: "Larsen, Katharine (TR General Counsel)"
<katharine.larsen@thomsonreuters.com<mailto:katharine.larsen@thomsonreuters.com>>
Date: Thursday, February 3, 2022 at 2:24 PM
To: Dustin Pusch <dustin@clarelocke.com<mailto:dustin@clarelocke.com>>, Tom Clare
<tom@clarelocke.com<mailto:tom@clarelocke.com>>, Joe Oliveri
<joe@clarelocke.com<mailto:joe@clarelocke.com>>
Subject: RE: Time-Sensitive Legal Correspondence on Behalf of Johnson & Johnson


Dear Mr. Clare,
Dear Mr. Oliveri,
Dear Mr. Pusch,

I write in response to your email and correspondence sent at 10:57 pm last night, February 2, which
demands that Reuters identify its confidential sources, refrain from publishing information in the public
interest, and destroy evidence that you claim was improperly obtained. I am also aware of the letter
filed with Judge Kaplan by Mr. Gordon of Jones Day (Dkt. 1346) today at 10:15 am. In your
correspondence, you state you will consider seeking a prior restraint from Judge Kaplan to enjoin
Reuters from reporting on the relevant bankruptcy proceedings.

In no uncertain terms, we reject your factually-unfounded and legally-meritless demands.

In short, given the 15-hour deadline you unilaterally imposed:

First, we stand behind the professionalism of our journalists, who contacted your client to transparently
share their “preliminary findings and ask a series of questions,” with the goal of ensuring that Reuters
reporting is “fair and accurate.”

Second, your claim that Reuters has asked about documents obtained in violation of Judge Kaplan’s
protective order is unsupported. As you are well aware, a ‘confidentiality’ designation atop a document
does not necessarily reflect the document’s current status.

Third, even if any document received by Reuters were currently designated confidential under a
protective order, which we do not concede, Reuters is not a party to these bankruptcy proceedings, and
not subject to the order. Moreover, we note that it was Mr. Gordon of Jones Day who filed, in the
public court record, detailed descriptions of what you claim to be confidential documents under the
protective order.

Fourth, it is well established that the First Amendment bars the imposition of liability against a publisher
for truthful speech about a matter of public concern, even if the third-party who provided the
information obtained that information unlawfully. See Bartnicki v. Vopper, 532 U.S. 514, 535 (2001).

Fifth, prohibiting Reuters from publishing fair reports of information of public concern would constitute
a prior restraint in violation of the First Amendment. See Procter & Gamble Co. v. Bankers Trust Co., 78
F.3d 219 (6th Cir. 1996) (overturning injunction against Business Week magazine based on publication of
information obtained in violation of confidentiality order because “[p]rohibiting the publication of a
news story . . . is the essence of censorship” and “[t]he private litigants’ interest in protecting their
vanity or their commercial self-interest simply does not qualify as grounds for imposing a prior
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restraint”); Matter of Providence Journal Co., 820 F.2d 1342, 1349 (1st Cir. 1986) (holding that it would
be an unconstitutional prior restraint to prevent the Providence Journal Company from publishing
information obtained through a FOIA request, “[e]ven if the materials had been given to the Journal
improperly or unlawfully”). We note with concern Mr. Gordon’s misleading claim, in the filing to Judge
Kaplan, that In re Zyprexa Injunction, 474 F. Supp. 2d 385, 397 (E.D.N.Y. 2007) could possibly support an
injunction against Reuters. As the decision reflects, no injunction was issued against either the reporter
or the publication in that case. To the contrary, the court stated: “No newspaper or website is directed
to do anything or to refrain from doing anything. … No person is enjoined from expressing an opinion or
speaking or writing about the documents.”

Sixth, any effort to compel our journalists to identify our confidential sources would be unlawful. See,
e.g., N.J.S.A. 2A:84A-21.

Seventh, we stand behind the accuracy of our prior reporting on these subjects, as set out in past
correspondence with you and your colleagues.

Eighth, for the avoidance of doubt, we do not agree to confidentiality over any part of your
communications. The unilateral labeling of correspondence as “not for publication” does not create an
off-the-record agreement with our newsroom.

Last, in keeping with the Reuters Trust Principles<https://urldefense.proofpoint.com/v2/url?u=https-
3A__www.thomsonreuters.com_en_about-2Dus_trust-
2Dprinciples.html&d=DwMGaQ&c=euGZstcaTDllvimEN8b7jXrwqOf-
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n3L95wgVVLcTr8XrbumtQgBFZ4eWCkQ&s=x29xDiVduuAoGvX1MxwCGJCY6tiaBx3FMiVomPUk5Mg&e=>
, we are dedicated to accuracy, integrity and independence in our newsgathering and publication. We
have no basis to believe we have fallen short of these standards here. We reject any demand that we
refrain from publishing fair and accurate reports regarding matters in the public interest. Instead, we
encourage your client to respond to the inquiries from our newsroom, so that their positions can be
included in any news reports we publish on this subject.

This message does not constitute a full recitation of the facts related to this matter and is without
prejudice to Reuters’ rights, claims and defenses, all of which are expressly reserved.

Sincerely,
Katharine Larsen


Katharine Larsen
Chief Counsel, Reuters News
Teams: +1 332 219 1465
